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 1   DINA L. SANTOS, Bar #204200
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 4
 5   Attorney for Defendant
     MAXSIM KARASENI
 6
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )      CR. NO. S-07-122 EJG
                                     )
13                   Plaintiff,      )      ORDER
                                     )      TO CONTINUE JUDGEMENT AND
14        v.                         )      SENTENCING
                                     )
15                                   )      DATE:      January 21, 2009
     MAKSIM KARASENI                 )      TIME:      10:00 a.m.
16                                   )      COURT:     Hon. Edward J. Garcia
                     Defendant.      )
17                                   )
     _______________________________ )
18                                   )
                                     )
19                                   )
                                     )
20
          Defendants, MAKSIM KARASENI, through his attorney of record, Dina
21
     Santos, and the United States of America, through Assistant U.S.
22
     Attorney Todd Leras, agree as follows:
23
          It is hereby stipulated that the Judgement and Sentencing
24
     currently set for December 10, 2008, be vacated and a date be scheduled
25
     on January 21, 2009 at 10:00 a.m.
26
27
          All counsel have consulted and have agreed to the new dates and
28
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 1   have consulted with United States Probation Officer Scott Storey.       Mr.
 2   Leras has authorized Ms. Santos to sign on his behalf.
 3                                            Respectfully submitted,
 4
 5   Dated: December 8, 2008                  /S/ Dina L. Santos
                                              Dina L. Santos
 6                                            Attorney for Defendant
                                              MAKSIM KARASENI
 7
 8
     DATED: December 10, 2008                 McGREGOR W. SCOTT
 9                                            United States Attorney
10                                            /S/ Todd Leras
                                              TODD LERAS
11                                            Assistant U.S. Attorney
                                              Attorney for Plaintiff
12
13
14
15
16
17                                    ORDER
18   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED that the date for Judgement and
19   Sentencing currently set for December 10,2008, be vacated and a new date
20   be scheduled on January 21, 2009 at 10:00 a.m.
21
22   DATED: December 8, 2008
23                                            _/s/ Eward J. Garcia
                                              HON. EDWARD J. GARCIA
24                                            United States District Court Judge
25
26
27
28                                            2
